Case 1:05-cv-00664-ESH Document 1 Filed 04/01/05 Page 1 of 10
Case 1:05-cv-00664-ESH Document 1 Filed 04/01/05 Page 2 of 10
Case 1:05-cv-00664-ESH Document 1 Filed 04/01/05 Page 3 of 10
Case 1:05-cv-00664-ESH Document 1 Filed 04/01/05 Page 4 of 10
Case 1:05-cv-00664-ESH Document 1 Filed 04/01/05 Page 5 of 10
Case 1:05-cv-00664-ESH Document 1 Filed 04/01/05 Page 6 of 10
Case 1:05-cv-00664-ESH Document 1 Filed 04/01/05 Page 7 of 10
Case 1:05-cv-00664-ESH Document 1 Filed 04/01/05 Page 8 of 10
Case 1:05-cv-00664-ESH Document 1 Filed 04/01/05 Page 9 of 10
Case 1:05-cv-00664-ESH Document 1 Filed 04/01/05 Page 10 of 10
